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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
IN RE GEORGIA SENATE BILL 202                      Master Case No.:
                                                   1:21-MI-55555-JPB
SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,                Civil Action No.: 1:21-
                                                   cv-01284-JPB
                         Plaintiffs,
                  v.
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

                         Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                         Intervenor-Defendants.
GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,                                     Civil Action No.:
                                                   1:21-cv-01259-JPB
                         Plaintiffs,
                  v.

BRAD RAFFENSPERGER, in his official
capacity as the Secretary of State for the
State of Georgia, et al.,

                         Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                         Intervenor-Defendants.


 [PROPOSED] ORDER ON AME & GEORGIA NAACP PLAINTIFFS’
    RENEWED MOTION FOR A PRELIMINARY INJUNCTION


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      THIS MATTER comes before this Court on Plaintiffs’ Renewed Motion for

a Preliminary Injunction. Upon considering the motion and supporting authorities

in both this motion and Plaintiffs’ initial motion in 2022, the responses from the

Defendants, and the evidence and pleadings of record, this Court finds that Plaintiffs

are highly likely to succeed on the merits of their claims, that they will be irreparably

harmed if this motion is not granted, that the balance of equities tip in Plaintiffs’

favor, and that the requested equitable relief is in the public interest. It is hereby:

      ORDERED that Plaintiffs’ Motion for a Preliminary Injunction is

GRANTED, and Defendants, their respective agents, officers, employees, and

successors, and all persons acting in concert with them, are hereby ENJOINED

from enforcing during the 2024 elections, and in future elections until this Court

renders a final judgment, the provisions of O.C.G.A. § 21-2-414(a)(3) so as to

interfere with or impose criminal penalties on those who “give, offer to give, or

participate in the giving of” items including food and drink, “to an elector [w]ithin

25 feet of any voter standing in line to vote at any polling place.”

      IT IS SO ORDERED this the _____ day of ________, 2023.


                                                _____________________________
                                                Hon. J. P. Boulee
                                                United States District Judge
                                                Northern District of Georgia


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